            Case 1:13-cv-10095-RGS Document 6 Filed 04/30/13 Page 1 of 2



UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS


                                                :
Robert Simons,                                  :
                                                :
                        Plaintiff,              :
       v.                                       : Civil Action No.: 1:13-cv-10095-RGS
                                                :
Chase Receivables, Inc.; and                    :
DOES 1-10, inclusive,                           :
                                                :
                        Defendants.             :
                                                :


            NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                    DISMISSAL OF ACTION WITH PREJUDICE
                           PURSUANT TO RULE 41(a)

       Robert Simons (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint and
voluntarily dismisses this action, with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: April 30, 2013

                                                   Respectfully submitted,

                                                   By: /s/ Sergei Lemberg

                                                   Sergei Lemberg, Esq.
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                                                   Attorneys for Plaintiffs
          Case 1:13-cv-10095-RGS Document 6 Filed 04/30/13 Page 2 of 2



                                CERTIFICATE OF SERVICE

       I hereby certify that on April 30, 2013, a true and correct copy of the foregoing Notice of
Withdrawal was served electronically by the U.S. District Court for the District of Massachusetts
Electronic Document Filing System (ECF) and that the document is available on the ECF
system.

                                             By_/s/ Sergei Lemberg_________
                                                    Sergei Lemberg
